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                              IN THE UNITED STATES COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

   KYLE CLARK                                        §
        Plaintiff                                    §
                                                     §           CIVIL ACTION NO.
   v.                                                §
                                                     §
   TRIOPTEK SOLUTIONS, INC. and                      §
   JONATHAN D. PIKE                                  §
        Defendants                                   §

                            PLAINTIFF’S ORIGINAL COMPLAINT

          Plaintiff Kyle Clark brings this Original Complaint against Defendants and shows

  as follows:

                                            I. SUMMARY

  1.            This is an action for overtime compensation under the Fair Labor Standards

  Act, 29 U.S.C. § 201, et seq. (“FLSA”). Plaintiff worked for Defendants from roughly

  mid-July 2017 until August 2018 providing routine help-desk type duties. He regularly

  worked approximately 45 or more hours per workweek, and Defendants did not pay him

  an overtime premium of at least one and one-half times his regular rate for hours worked

  over 40 in a workweek. Plaintiff brings this action to recover back wages, an equal amount

  of liquidated/double damages, attorney fees, interest, and costs.

                                            II. PARTIES

  2.            Plaintiff Kyle Clark is an individual who resides in Collin County, TX. He

  consents to be a party plaintiff in this action.

  3.            Defendant Trioptek Solutions, Inc. is a domestic for-profit corporation

  organized under the laws of the State of Texas. Defendant Trioptek may be served with

  process by serving its registered agent and president, Jonathan D. Pike, at 2708 Winterstone


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  Drive, Plano TX 75023, or wherever he may be found.

  4.           Defendant Jonathan D. Pike is an individual who is a citizen of the State of

  Texas. Defendant Pike may be served with process at his place of residence, 2708

  Winterstone Drive, Plano TX 75023, his usual place of business, or wherever he may be

  found.

                                III. JURISDICTION AND VENUE

  5.           This Court has original jurisdiction over this action because Plaintiff asserts a

  claim arising under federal law.

  6.           Venue is proper in this district because it the judicial district where a substantial

  part of the events or omissions giving rise to the claim occurred, Defendants reside in this

  district, and – at all times during the period that Defendants employed Plaintiff –

  Defendants conducted business in this district.

                                            IV. COVERAGE

  7.           At all times material to this action, Defendants have acted, directly or indirectly,

  in the interest of an employer with respect to Plaintiff.

  8.           Defendants have constituted an enterprise within the meaning of Sections 3(r)

  of the FLSA, 29 U.S.C. § 203(r), in that Defendants performed (either through unified

  operation or common control) related activities for a common business purpose. Further,

  Defendants have constituted an enterprise within the meaning of Section 3(s)(1) of the

  FLSA, 29 U.S.C. § 203(s)(1), in that Defendants have had employees engaged in

  commerce or in the production of goods for commerce, or employees handling, selling, or

  otherwise working on goods or materials that have been moved in or produced for

  commerce by any person and in that said enterprise have had and have an annual gross



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  volume of sales made or business done of not less than $500,000 (exclusive of excise taxes

  at the retail level which are separately stated). Upon information and, therefore, it is

  believed, Defendant Trioptek generated more than $500,000 per annum in sales and

  employed more than two employees engaged in interstate commerce in the calendar years

  that it employed Plaintiff.

  9.           At all times material to this action, Defendant Pike has acted, directly or

  indirectly, in the interest of an employer in relation to Plaintiff. For example, during

  Plaintiff’s employment with Defendants:

               a. Defendant Pike held himself out to the public as Defendant Trioptek’s

                   President, Managing Director, and founder;

               b. Defendant Pike was the controlling shareholder of Defendant Trioptek;

               c. Defendant Pike had the authority to issue and sign checks on Defendant

                   Trioptek’s bank accounts.

               d. Defendant Pike made decisions affecting significant aspects of Plaintiff’s

                   employment with Defendant Trioptek;

               e. Defendant Pike made the decision to hire Plaintiff for Defendant Trioptek;

               f. Defendant Pike signed Plaintiff’s Trioptek employment offer; and

               g. Defendant Pike made the decision to not pay Plaintiff overtime

                   compensation for hours worked over 40 in a workweek.

  10.          All times during his employment with Defendants, Plaintiff was an employee

  engaged in commerce or in the production of goods for commerce as defined by the FLSA.

  Among other things, Plaintiff used electronic mail, telephone, and other instrumentalities

  of interstate commerce to communicate with Defendants’ customers located in states other



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  than Texas, including customers located in the state of Nevada -- all while Plaintiff was

  employed by Defendants and located in Texas.

                                  V. FACTUAL BACKGROUND

  11.          At all times material to Plaintiff’s employment, Defendant Trioptek provided

  outsourced Information Technology solutions and offered managed services to business

  customers located within and outside of the state of Texas.

  12.          Defendant Pike managed the Defendant Trioptek’s day-to-day operations from

  his residence located in Plano, TX.

  13.          Plaintiff interviewed with Defendant Pike for a position with Defendant

  Trioptek in July 2017.

  14.          On or about July 17, 2017, Defendant Pike extended Plaintiff a written offer of

  employment at Defendant Trioptek in the position of Technical Support Specialist,

  reporting to Operations Manager Richard Giles and Defendant Pike as Defendant

  Trioptek’s Managing Director and President.

  15.          Plaintiff accepted the employment offer in July 2017 and worked for

  Defendants as an employee earning an annualized wage of $38,400.00.

  16.          Plaintiff continued to work for Defendants until approximately August 1, 2018,

  when Defendant Pike accepted employment with Global IP Networks, Inc. and Defendant

  Trioptek’s employees accepted employment with Global IP Networks, Inc.

  17.          Plaintiff’s duties at Defendant Trioptek included, among other things,

  monitoring the company’s alerts e-mails in the event a customer’s computers or servers

  had issues. Plaintiff also handled help-desk tickets that were sent in electronically and via

  phone calls. Both of these involved general tech support items, such as fixing printers,



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  helping customers to set up e-mail on a new iPhone, and more. Plaintiff was responsible

  for other routine and nondiscretionary help-desk-type duties involving routine

  maintenance. Higher level issues were directed to the Operations Manager, who instructed

  Plaintiff on how to resolve the customer’s matters. Plaintiff’s primary duties did not

  include the exercise of discretion or independent judgment with respect to matters of

  significance.

  18.          During Plaintiff’s employment with Defendant Trioptek, Plaintiff regularly

  worked from 8:00 a.m. to 6:00 p.m., Monday through Friday, for an average total of

  approximately 45 hours or more per week.

  19.          During Plaintiff’s employment with Defendant Trioptek, Defendants did not

  pay Plaintiff an overtime premium of at least one and one-half times his regular rate for

  hours worked in a workweek over 40.

  20.          During Plaintiff’s employment with Defendant Trioptek, Defendants did not

  use a time-tracking software or other device to accurately track Plaintiff’s hours worked.

  Consequently, Defendants failed to maintain an accurate record of Plaintiff’s actual

  working time.

  21.          Defendants also did not post a workplace notice or poster explaining his

  overtime rights under the FLSA, as required by the U.S. Department of Labor.

                             VI. CAUSE OF ACTION:
                  VIOLATION OF THE FAIR LABOR STANDARDS ACT

  22.          Plaintiff incorporates the preceding paragraphs of this Complaint as if stated

  fully herein.

  23.          During the FLSA limitations period governing this action, Defendants have

  violated Sections 7 and 15 of the FLSA, 29 U.S.C. §§ 207 and 215(a)(2), by employing


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  Plaintiff in an enterprise engaged in commerce or in the production of goods for commerce

  within the meaning of the FLSA as aforesaid, for workweeks longer than 40 hours without

  compensating him for work in excess of 40 hours per week at a rate no less than one-and-

  one-half times the regular rate for which he was employed.

  24.          Plaintiff was a non-exempt employee entitled to overtime pay for hours worked

  in a workweek exceeding 40.

  25.          There is no overtime exemption under the FLSA that exempts Plaintiff from the

  FLSA’s mandatory overtime provisions.

  26.          Defendants were not aware of their obligation to pay overtime compensation to

  Plaintiff. In the alternative or in addition, Defendants acted willfully or intentionally in

  failing to pay Plaintiff in accordance with the FLSA.

                                       VII. MISCELLANEOUS

  27.          All conditions precedent have occurred or been performed.

  28.          There is no agreement between Plaintiff and Defendants that requires them to

  submit this dispute to mandatory arbitration.

                                       VIII. RELIEF SOUGHT

  29.          WHEREFORE, cause having been shown, Plaintiff Kyle Clark prays for

  judgment against Defendants, jointly and severally, seeks the following relief:

               a. For an Order, pursuant to Section 16(b) of the FLSA, finding Defendants

                   liable for unpaid overtime wages due to Plaintiff, and for liquidated

                   damages equal in amount to the unpaid overtime compensation found due

                   to Plaintiff; and

               b. For an Order awarding Plaintiff the costs of this action; and



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               c. For an Order awarding Plaintiff attorneys’ fees; and

               d. For an Order awarding Plaintiff pre-judgment, as allowable, and post-

                   judgment interest, all at the highest rates allowable by law; and

               e. For an Order granting such other and further relief as may be necessary and

                   appropriate.

                                            Respectfully submitted,


                                            ___________________________________
                                            Barry S. Hersh
                                            State Bar No. 24001114

                                            Board Certified in Labor and Employment Law
                                            Texas Board of Legal Specialization

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